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JON CHARLES DUPEE (1939-2001)

JON C. DUPEE, JR.*
JAMES E. MONROE**
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Hon. Amit P. Mehta

United States District Judge
United States District Court
District of Columbia

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February 9, 2022

RE: USA v. THOMAS WEBSTER
CASE NO. 1:21-cr-208

Dear Judge Mehta:

Our law firm has the privilege of representing the defendant Thomas Webster. Today is the deadline for
the filing of defendant’s FRCP 12(b)(3) Motion. Defendant’s Pre-Trial Motion will be limited to a
request for a change in venue under FRCP 12(b)(3)G) & 21(a).

We recently secured the consent of the Federal Public Defender’s Office for the Eastern District of
Virginia to use the opinion polls/data collected at their request by Select Litigation, LLC dated February

4, 2022.

We are requesting an additional day to incorporate Select Litigation’s empirical evidence and to file
defendant’s motion. As a courtesy to the Government, we would request the Government’s time to
oppose defendant’s motion be extended an additional day to February 24, 2022 as well.

Defendant is not requesting additional time beyond March 2, 2022 to su

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reply. Thank you.

 
  

™ JAMES E. MONROE

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